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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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D.G. SWEIGERT,

                                            Plaintiff,                      23-CV-05875 (JGK) (VF)

                          -against-                                         ORDER SCHEDULING
                                                                              CONFERENCE
JASON GOODMAN ET AL.,

                                             Defendants.
-----------------------------------------------------------------X
VALERIE FIGUEREDO, United States Magistrate Judge

        A conference in this matter is hereby scheduled for Monday, November 13, 2023, at

3:00 p.m. Counsel for the parties are directed to call Judge Figueredo’s AT&T conference line at

the scheduled time. Please dial (888) 808-6929; access code [9781335].



SO ORDERED.

DATED:           New York, New York
                 November 3, 2023

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                                                             VALERIE FIGUEREDO
                                                             United States Magistrate Judge
